        Case 1-20-40402-cec           Doc 13       Filed 02/05/20   Entered 02/05/20 10:11:48




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Norma E. Ortiz
Proposed Counsel to the Debtor and
Debtor in Possession

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OFNEW YORK
--------------------------------------------------------X

In re

JORGE MIGUEL PRIETO,                                                    Case No. 20-40402-cec

                                                                        Chapter 11
                                          Debtor
--------------------------------------------------------X

         DEBTOR’S APPLICATION FOR ENTRY OF AN ORDER PURSUANT TO
         BANKRUPTCY CODE SECTION 327(a) AND FED. R. BANKR. PROC. 2014
        AND 2016 AUTHORIZING THE EMPLOYMENT OF ORTIZ & ORTIZ L.L.P.
           AS DEBTOR’S COUNSEL NUNC PRO TUNC TO PETITION DATE

TO THE HONORABLE CARLA E. CRAIG,
CHIEF UNITED STATES BANKRUPTCY JUDGE:

         Jorge Miguel Prieto (the “Debtor”), by his proposed counsel Ortiz & Ortiz, L.L.P. (“O &

O”), respectfully represents:

                                              BACKGROUND

         1.      The Debtor filed a voluntary Chapter 11 petition on January 21, 2020 (the

“Petition Date”) and has remained in possession pursuant to 11 U.S.C. § 1107. No unsecured

creditors’ committee has been appointed in this case.

         2.      The Debtor is the equitable owner of two multi-family homes located in Queens

County. The Debtor purchased the homes; both homes are encumbered by mortgage loans
      Case 1-20-40402-cec         Doc 13     Filed 02/05/20      Entered 02/05/20 10:11:48




obtained by the Debtor. At his wife’s insistence, the Debtor transferred the deeds for the homes

for no consideration to his wife in 2008. The Debtor believed that the deeds transferred 90% of

his interest in the homes and that solely nominal interest in the homes would be held by his wife.

However, the deeds transfer 99% of his interest in the homes. Moreover, without his knowledge,

his wife subsequently transferred the deeds to an entity known as Elmhurst Assets, LLC, for no

consideration. The Debtor asserts that he is the equitable owner of the two properties. The

Debtor intends to seek to set aside the transfers and restore title to his name.

       3.      Despite these transfers, the Debtor has always remained in possession of the

homes. He has a divorce action pending. His wife left the premises and left their three sons in the

Debtor’s custody. The homes generate sufficient rent to permit the Debtor to make adequate

protection payments to his mortgagees; he intends to seek loan modifications of his mortgage

loans while he attempts to recover his interest in the homes.

                                         JURISDICTION

       4.      The Court has jurisdiction to consider this matter pursuant to 28 U.S.C. §§ 157

and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b). Venue is proper before this

Court pursuant to 28 U.S.C. §§ 1408 and 1409.

                                     RELIEF REQUESTED

       5.      Subject to the Court’s approval, the Debtor has retained Ortiz & Ortiz, L.L.P. (“O

& O”) as its bankruptcy counsel to prosecute his Chapter 11 case. Pursuant to 11 U.S.C. §

327(a), Fed. Rule Bankr. Proc. 2014(a) and 2016, and Local Rules 2014-1 and 2016-1, the

Debtor requests authority to retain as attorneys for the Debtor nunc pro tunc to the Petition Date.

O & O anticipates rendering the following services to the Debtor:

       •       perform all necessary services as Debtor’s counsel that are related to the
      Case 1-20-40402-cec          Doc 13     Filed 02/05/20      Entered 02/05/20 10:11:48




                reorganization and the bankruptcy estate;

        •       assist the Debtor in protecting and preserving estate assets during the pendency of

                the chapter 11 case, including the prosecution and defense of actions and claims

                arising from or related to the estate and/or the Debtor’s reorganization;

        •       prepare all documents and pleadings necessary to ensure the proper

                administration of its case; and perform all other bankruptcy-related

                necessary legal services.

        6.      The Debtor believes that O & O is qualified to represent his interests and the

interests of the estate. Norma E. Ortiz, the partner responsible for the case, has over thirty two years

of bankruptcy law experience in the public and private sectors and has participated in many Chapter

11 cases in various capacities. O & O is willing to act in this case and render the necessary

professional services as attorneys for the Debtor.

        7.      Based on the annexed Declaration of Norma E. Ortiz,O & O does not hold or

represent an interest adverse to the Debtor’s estate in the matters upon which O & O is to be

employed and O & O is “disinterested” as that term is defined in the Bankruptcy Code. O & O

intends to apply to the Court for the allowance of compensation and reimbursement of expenses

in accordance with applicable provisions of the Bankruptcy Code, the Federal Rules of

Bankruptcy Procedure, and the local rules and orders of the Court.

        8.      The Debtor and O & O entered into a retainer agreement that provided O & O

with a classic retainer in the amount of $15,000.00. Such a retainer is earned when paid but is

subject to the restrictions of the applicable provisions of the Bankruptcy Code, such as Section

328, 329, 330 and 331 and the Federal Rules of Bankruptcy Procedure. The retainer was paid to

O & O by the Debtor.
       Case 1-20-40402-cec          Doc 13     Filed 02/05/20     Entered 02/05/20 10:11:48




           9.     The proposed terms of O & O’s retention are set forth in the attached Declaration

of Norma E. Ortiz. O & O asserts that the terms of its retention are reasonable under Section 328

and should be approved. The amount of the retainer and hourly rates charged by O & O are at or

below the amounts typically sought in Chapter 11 cases in this district. O & O has successfully

prosecuted Chapter 11 cases previously and demonstrated competence in such cases. Subject to

the Court’s approval, the Debtor proposes to pay O & O its customary hourly rates as set forth in

Norma E. Ortiz’s Declaration and submits that such rates are reasonable.

           10.    O & O intends to utilize that portion of its classic retainer that was not expended

prior to the bankruptcy filing to satisfy post-petition services rendered and seek additional fees

pursuant to 11 U.S. C. §§ 330 and 331. If O & O were required to disgorge the retainer upon

conversion to a Chapter 7 case, administrative insolvency, or disallowance of its fee requests, it

has the financial ability to do so. For these reasons, O & O and the Debtor requests that the Court

approve the proposed terms of O & O’s retention.

           11.    No previous application for the relief requested herein has been made to this

Court.

           WHEREFORE, the Debtor respectfully requests the entry of an order substantially in the

form of the prefixed order granting the relief requested herein and such other and further relief as

is just.

Dated: Astoria, New York
February 4, 2020
                                                                S/Norma Ortiz
                                                                Norma E. Ortiz
                                                                Ortiz & Ortiz L.L.P.
                                                                32-72 Steinway Street, Ste. 402
                                                                Astoria, New York 11103
                                                                Tel. (718) 522-1117
                                                                Proposed counsel to the Debtor
Case 1-20-40402-cec   Doc 13   Filed 02/05/20   Entered 02/05/20 10:11:48




                 DECLARATION OF NORMA ORTIZ
      Case 1-20-40402-cec             Doc 13       Filed 02/05/20   Entered 02/05/20 10:11:48




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------X
In re

JORGE MIGUEL PRIETO,                                                    Case No. 20-40402-cec

                                             Debtor                     Chapter 11
--------------------------------------------------------X

 DECLARATION AND DISCLOSURE STATEMENT OF NORMA E. ORTIZ, ESQ., IN
   SUPPORT OF APPLICATION FOR RETENTION OF ORTIZ & ORTIZ, L.L.P.

          Norma E. Ortiz, states as follows:

        1.       I am an attorney at law admitted to practice before this Court and a member of the

firm Ortiz & Ortiz, L.L.P (“O & O”). I am the partner primarily responsible for the Debtor’s

case. I have been involved in numerous reorganization and consumer bankruptcy cases over the

last 32 years and possess the requisite experience and qualifications to serve as Debtor’s counsel.

        2.       My firm has agreed to bill the Debtor at an hourly rate of $450 an hour for

partners and $375 an hour and below for associates and attorneys serving as of counsel to my

firm. We bill our paralegals time at $75 an hour and below. Our partners bill non-bankruptcy

clients between $350 and $450 an hour, depending on – among other things – the complexity of

the matter. Photocopying charges shall be billed at five cents a page; only long distance calls and

faxes shall be billed to the estate. Any costs incurred by third party vendors will be billed to the

estate at O & O’s cost.The Debtor has consented to our retention under a classic retainer under

these terms.

        3.       I know of no reason why O & O is not qualified to represent the Debtor in this
      Case 1-20-40402-cec         Doc 13     Filed 02/05/20      Entered 02/05/20 10:11:48




case. The firm had no prior connection to the Debtor before it was first consulted regarding the

his financial difficulties on a week before the Petition Date. In addition, I utilized software to

search our databases of present and former clients to conduct a conflicts check before agreeing to

be retained by the Debtor. The firm has no economic or professional relationship with any of the

Debtor’s creditors other than in the ordinary course of its business, such as the firm may

maintain a bank account with a bank that is a creditor of the Debtor. For these reasons, I believe

O & O neither represents nor has any connection to any creditor or party in interest of the Debtor,

other than in the ordinary course of its business.

       4,      I was previously employed by the U.S. Trustee’s office, but have no present

connection to the office other than in the ordinary course of my practice.

       5.      O & O received a $15,000 classic retainer from the Debtor prior to the bankruptcy

filing on January 17, 2020. We paid the filing fee from the retainer. O & O intends to apply the

remainder of its retainer to services rendered post-petition upon court approval of all fees paid to

the firm pursuant to, among other things, 11 U.S.C. §§ 330, 331.

       6.      Any post-petition payments of compensation will be made pursuant to, among

other things, the applicable Bankruptcy Code provisions and the Federal Rules of Bankruptcy

Procedure. Moreover, my firm is fully aware that all fees received as compensation for services

to the Debtor are subject to the Court’s approval for, among other things, reasonableness –

regardless of the source of funds paid to my firm.

       7.      My firm has not agreed to share compensation with any other person or entity. O

& O shall not seek an increase in its hourly rates without prior notice to the Debtor, the Court,

and the Office of the U.S. Trustee.
     Case 1-20-40402-cec        Doc 13     Filed 02/05/20     Entered 02/05/20 10:11:48




      I declare under the penalty of perjury that the foregoing is accurate and correct.

Dated: Astoria, New York
February 4, 2020
                                                            S/Norma Ortiz
                                                            Norma E. Ortiz
                                                            Ortiz & Ortiz L.L.P.
                                                            32-72 Steinway Street, Ste. 402
                                                            Astoria, New York 11103
Case 1-20-40402-cec   Doc 13   Filed 02/05/20   Entered 02/05/20 10:11:48




                         PROPOSED ORDER
      Case 1-20-40402-cec             Doc 13       Filed 02/05/20   Entered 02/05/20 10:11:48




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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OFNEW YORK
--------------------------------------------------------X
In re

JORGE MIGUEL PRIETO,                                                    Case No. 20-40402-cec

                                                                        Chapter 11
                                          Debtor
--------------------------------------------------------X

        ORDER PURSUANT TO SECTION 327 (a) OF THE BANKRUPTCY CODE
         AUTHORIZING THE EMPLOYMENT OF ORTIZ & ORTIZ, L.L.P. AS
                      ATTORNEYS FOR THE DEBTOR

        Upon the application (the "Application") of Jorge Miguel Prieto (the “Debtor”), as debtor

and debtor in possession, dated February 4, 2020, for entry of an order pursuant to 11 U.S.C. §

327(a) authorizing and approving the employment of Ortiz & Ortiz, L.L.P. ("O & O") as his

attorneys under a classic retainer; upon the Declaration of Norma E. Ortiz, Esq., a member of the

firm of O & O; it appearing that the members of O & O are admitted to practice before this

Court; the Court being satisfied that O & O represents no interest adverse to the Debtor and the

estate as to the matters upon which it is to be engaged, is disinterested under 11 U.S.C. §

101(14), and that the employment of O & O is necessary and in the best interest of the Debtor

and the estate; due notice of the Application having been given to the United States Trustee, and

it appearing that no other or further notice need be given; sufficient cause appearing therefore, it

is

        ORDERED, that pursuant to 11 U.S.C. § 327(a) of the Bankruptcy Code, the Debtor is

authorized to employ O & O as its attorneys under the terms and conditions set forth in the
      Case 1-20-40402-cec        Doc 13     Filed 02/05/20      Entered 02/05/20 10:11:48




Application effective as January 21, 2020; and it is further

        ORDERED, that no compensation or reimbursement of expenses shall be paid to O & O

for professional services rendered to the Debtor, except upon proper application and by further

order of this Court, and any of O & O's fee applications will be subject to notice and hearing

pursuant to Sections 330 and 331 of the Bankruptcy Code, Rule 2016 of the Federal Rules of

Bankruptcy Procedure, and will comply with the Court's General Order 613 (Guidelines for Fees

and Disbursements for Professionals in Eastern District of New York Bankruptcy Cases); and it

is further

        ORDERED, that prior to any increases in O & O rates for any individual retained by O &

O and providing services in this case, O & O shall file a supplemental affidavit with the Court

and provide ten business days’ notice to the Debtor, the United States Trustee and any official

committee. The supplemental affidavit shall explain the basis for the requested rate increases in

accordance with Section 330(a)(3)(F) of the Bankruptcy Code and state whether O & O’s client

has consented to the rate increase. The United States Trustee retains all rights to object to any

rate increase on all grounds including, but not limited to, the reasonableness standard provided

for in section 330 of the Bankruptcy Code, and the Court retains the right to review any rate

increase pursuant to Section 330 of the Bankruptcy Code.

Dated:       , 2020
Brooklyn, New York

                                                               _______________________
                                                               Carla E. Craig
                                                               Chief U.S. Bankruptcy Judge
NO OBJECTION:



Office of the United States Trustee
